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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
7
                                               CALIFORNIA
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11                                                     Case Number: 2:17-CR-041 TLN
     THE UNITED STAES OF AMERICA
12                                                     STIPULATION AND ORDER
     V
13                                                        Date: April 27, 2017
     JOHN SMALLWOOD                                       Time: 9:30 am
14                                                        Judge: Hon. Troy L. Nunley
     JAMES SMALLWOOD
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                    Plaintiff United States of America, by and through its counsel of record, and the
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     Defendants, by and through each counsel of record, hereby stipulate as follows:
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            1.       Attorneys Hedberg and Bockmon need additional time to review discovery and
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     need time to review it with their clients. Attorneys Hedberg and Bockmon have recently been
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     appointed to represent their respective clients in this matter and needs further time to review the
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     discovery and work with them.
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1           2.      By this stipulation, the defendant now move to continue the status conference

2    until July 13, 2017 at 9:30 am, and to exclude time between April 25, 2017, and July 13, 2017,

3    under Local Code T4. Plaintiff does not oppose this request.
4           3.      The parties agree and stipulate, and request that the Court find the following:
5           a.      The government has provided discovery associated with this case.
6           b.      Counsel for the defendants desire time to consult with their clients, to review the
7    current charges, to conduct investigation and research related to the charges, to review and copy
8    discovery for these matters and to discuss potential resolutions with their clients.
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            Counsel for the defendants believes that failure to grant the above-requested continuance
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     would deny them the reasonable time necessary for effective preparation, taking into account the
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     exercise of due diligence.
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            d.       The government does not object to the continuance.
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            e.      Based on the above-stated findings, the ends of justice served by continuing the
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     case as requested outweigh the interest of the public and the defendant in a trial within the
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     original date prescribed by the Speedy Trial Act.
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            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
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     et seq., within which trial must commence, the time period of April 27, 2017, to July 13, 2017,
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     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
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     because it results from a continuance granted by the Court at defendant’s request on the basis of
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     the Court's finding that the ends of justice served by taking such action outweigh the best interest
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     of the public and the defendant in a speedy trial.
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            4. Nothing in this stipulation and order shall preclude a finding that other provisions of
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     the Speedy Trial Act dictate that additional time periods are excludable from the period within
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     which a trial must commence.
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3    IT IS SO STIPULATED
4    Respectfully submitted
5    /s/ Olaf W. Hedberg                                    /s/ Owen Roth
     Olaf W. Hedberg                                          Owen Roth
6
     Attorney for John Smallwood                     Assistant United States Attorney
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8
     /s/ Matthew Bockmon
9    Matthew Bockmon
     Attorney for James Smallwood
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                                                  ORDER
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            GOOD CAUSE APPEARING, it is hereby ordered that the April 27, 2017 status
3    conference be continued to July 13, 2017 at 9:30 a.m. I find that the ends of justice warrant an
4    exclusion of time and that the defendants' need for continuity of counsel and reasonable time for
     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (ii) and
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     Local Code T4 from the date of this order to July 13, 2017.
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8    IT IS SO ORDERED.

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10   Dated: April 25, 2017
                                                              Troy L. Nunley
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                                                              United States District Judge
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